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                                       AFFIDAVIT

   I, Nathan Eikost, being duly sworn, hereby depose and say:


                             I.    INTRODUCTION

1. I am a Special Agent with the United States Secret Service assigned to the Detroit

   Field Office. I have been a Special Agent since January 2018. I have a Bachelor of

   Science degree with a focus in Criminal Justice from the University of Toledo.

2. I have over two years of federal law enforcement experience and have conducted

   numerous investigations into violations of federal criminal statutes.

3. I have received training in general law enforcement and criminal investigations at the

   Federal Law Enforcement Training Center, and at the United States Secret Service

   Rowley Training Center. More specifically, I have been trained in methods and traits

   common to fraudulent activities.

4. The information contained in this affidavit is based on my training, experience, and

   participation in fraud and identity theft investigations, as well as my personal

   knowledge and observations during the course of this investigation, and information

   provided to me by other federal agents.

5. Probable cause exists that Brandi HAWKINS violated 18 U.S.C. sections 666, 1343,

   and 1956 (a). HAWKINS—without lawful authority—knowingly and fraudulently

   transferred, possessed, used, and processed federal funds intended for pandemic

   unemployment assistance. Specifically, Hawkins used access and authority granted

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   by the State of Michigan to fraudulently direct these funds into multiple bank accounts

   via interstate wire transmissions.


   II.      UNEMPLOYMENT INSURANCE – BACKGROUND AND COVID-19

6. The Social Security Act of 1935 initiated the federal and state unemployment

   insurance (UI) system. The system provides benefits to individuals who are

   unemployed for reasons beyond their control. The purpose of the UI system is

   twofold: first, to lessen the effects of unemployment through cash payments

   made directly to laid-off workers, and second, to ensure that life necessities are

   met on a weekly basis while the worker seeks employment. In the State of

   Michigan (SOM), the UI system is administered by the Unemployment

   Insurance Agency (UIA), which is part of the SOM’s Department of Labor and

   Economic Opportunity. The U.S. Department of Labor funds the UIAs

   administrative costs, including salaries, office expenses, and computer

   equipment. In any given one-year period, the UIA receives substantially more

   than $10,000 in federal funding.

7. State unemployment systems and benefits are joint state and federal enterprises

   largely financed by taxes on private employers located in that state. When state

   unemployment benefits are exhausted, they may be supplemented by federal

   funds appropriated by the U.S. Department of Labor. As of the time of this



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   application, the federal government is providing significant supplemental

   benefits to the states as a result of the COVID-19 pandemic.

8. The Families First Coronavirus Response Act (FFCRA) became law on March

   18, 2020, and provided additional flexibility for state unemployment insurance

   agencies and additional administrative funding to respond to the COVID-19

   pandemic. The Coronavirus Aid, Relief, and Economic Security (CARES) Act

   was signed into law on March 27, 2020. The CARES act further expanded

   states’ ability to provide unemployment insurance for many workers impacted

   by the COVID-19 pandemic, including workers who are not ordinarily eligible

   for unemployment benefits. One such program established to accomplish that

   was the Federal Pandemic Unemployment Compensation (FPUC) program.

   The FPUC allows eligible individuals who are collecting certain UI benefits,

   including regular unemployment compensation, to receive an additional $600 in

   federal benefits per week for weeks of unemployment ending on or before July

   31, 2020. Additionally, the Pandemic Emergency Unemployment

   Compensation (PEUC) program allows those who have exhausted benefits

   under regular unemployment compensation or other programs to receive up to

   thirteen weeks of additional federally funded benefits.

9. The recent federal legislation and programs detailed above allowed for a

   significant outlay of federal funds to flow to and through the states to offset the


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   historic need for unemployment benefits by the American workforce, including

   in the SOM and in the Eastern District of Michigan (EDMI).

10. Normally (in the absence of fraud), an unemployed worker initiates an UI

   claim. This is accomplished by submitting a claim in person, over the

   telephone, or on the internet. Currently, the overwhelming majority of UI

   claims are filed online through the UIA’s website. In order to be eligible for UI

   benefits, the worker must demonstrate a certain level of earnings in several

   fiscal quarters immediately preceding the application. The amount of

   unemployment benefits that a UI claimant might be eligible for depends on a

   variety of factors, including but not limited to the length of his or her previous

   employment and the amount of wages he or she earned.

11. The SOM UIA will either approve or reject a UI claim based on the

   application made by the unemployed worker. If the SOM UIA approves a UI

   claim, the claimant is required to re-certify the claim via telephone or internet at

   various times during the life of the claim. The worker must also certify that he

   or she is still unemployed and actively seeking work. One way in which

   unemployment benefits are provided to a claimant is through the use of a debit

   card which is mailed to the claimant through the U.S. Postal Service. The

   unemployment benefits are loaded onto the debit card electronically, and

   additional benefits are loaded onto the card electronically every two weeks.


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                      III.   SUMMARY OF INVESTIGATION

12. In June 2020, investigating agents discovered that former State of Michigan

   Unemployment Insurance Agency contract employee Brandi HAWKINS was

   involved in a large-scale, fraudulent scheme aimed at defrauding the SOM and the

   U.S. Government of funds earmarked for unemployment assistance during the

   pandemic.

13. In April 2020, HAWKINS was assigned as a contract employee to work as an

   Unemployment Insurance Examiner (UIE) for the SOM. According to Michigan Civil

   Service Commission on Specification listed on the State of Michigan website, a UIE

   services claimants, employers, and the general public regarding the SOM’s UI

   programs. SOM officials detailed that UIE’s are responsible for reviewing, processing

   and verifying the legitimacy of various UI claims.

14. Starting from on or about April 21, 2020, HAWKINS worked as a UIE in a

   full time telework capacity. That is to say, HAWKINS’s duty station was her

   residence in Detroit, Michigan. HAWKINS used a computer provided by her

   employer, a “soft token,” and a username and password to access the State of

   Michigan’s Virtual Private Network (VPN) and the SOM UIA’s Michigan

   Integrated Data Automated System (MiDAS) system. During this time,

   HAWKINS reported directly to managers in the SOM’s UIA.




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15. HAWKINS worked with outside actors currently unknown to law enforcement. On

   a daily basis, those actors entered numerous false claims into the SOM’s UIA system.

16. HAWKINS used her insider access to fraudulently release payment on these claims.

   HAWKINS’ actions have resulted in the fraudulent disbursement of over two million

   dollars of federal and state funds intended for unemployment assistance during the

   pandemic.

17. In order to access the SOM’s VPN and MiDAS system, UIE’s are assigned an

   account with a unique username. SOM’s records detail that HAWKINS’s

   username to access both the states VPN and MiDAS system is “hawkinsb3.”

   HAWKINS’s credentials are unique to her and no other SOM employee is

   provided with the username “hawkinsb3.” SOM’s records show that

   HAWKINS’s VPN account was created and given access to the VPN on April

   28, 2020, and her MiDAS account was activated in May of 2020.

18. As referenced above, all SOM users are assigned a “soft token,” a unique

   security token required to log into the state’s VPN. Users must enter a unique

   six digit code generated by their security token. The code on each security

   token changes in designated intervals and is unique to each specific employee.

   Therefore, a given user must log in with his or her unique username and

   password as well as with the unique code reflected on their security token at the




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   time to ensure that only approved users are accessing the VPN and to ensure

   that each user accessing the VPN is who the SOM believes they are.

19. On June 17, 2020, the SOM directed HAWKINS’s employer to remove

   HAWKINS from the SOM contract. Subsequently SOM managers terminated

   HAWKINS on June 17, 2020.

20. Once HAWKINS was terminated, her access to the SOM’s VPN and MiDAS

   system should have been also terminated. Through further investigation agents

   learned HAWKINS still had access to the SOM’s system until early July 2020.

21. On or about June 29, 2020, State of Michigan’s Fraud Investigation Unit

   (SOM-FIU) reviewed internal UIA records and identified several anomalies.

   SOM-FIU noticed that two specific UI claims that were fraud-stopped in

   MiDAS after being flagged as potentially fraudulent had been paid.

22. HAWKINS “discarded” the fraud-stops earlier on June 29, 2020 allowing

   these claims to be paid. In both instances, HAWKINS also neglected to notate

   the file as to why the stops were discarded.

23. Review of HAWKINS’s assigned work items and call logs detailed that she

   had no legitimate reason to access, let alone modify, the claims. Investigating

   agents also noted that HAWKINS disregarded internal notations on the claims,

   including the following statement: “Do not pay; do not close fraud

   investigation; refer to fraud unit if claimant contacts agency.”


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24. SOM-FIU reviewed the audit logs for HAWKINS’s user account and

  determined that she continued to remotely access SOM systems after her

  termination and was actively “discarding” fraud-stops and releasing payment on

  hundreds of fraudulent claims until early July 2020.

25. Between her termination on June 17, 2020 and June 29, 2020, HAWKINS

  accessed over four-hundred separate claims, and fraudulently enabled the

  disbursement of over two million dollars of government funds to be paid out on

  these fraudulent UI claims.

26. SOM-FIU has reviewed HAWKINS’s MiDAS activity and determined that it

  appears to be both intentional and targeted. That is to say, investigating agents

  do not believe that she randomly discarded fraud-stops to release payments.

27. SOM-FIU has advised that HAWKINS searched the MiDAS system using

  exact names and/or Social Security Numbers (SSNs). Many of these claims

  were entered into the MiDAS system late in the night prior or in the early

  morning hours of the day that HAWKINS interacted with them.

28. In addition, HAWKINS discarded multiple fraud stops associated with twelve

  (12) separate claims using the same name with the initials “J.R.” with twelve

  (12) different social security numbers between June 3, 2020 and June 29, 2020.

  Prior to HAWKINS’s involvement, all of these claims had been stopped as




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   potential fraud. After HAWKINS’s intervention, these claims were all paid to a

   single bank account.

29. UIA advised that these fraudulently processed funds included federal funds

   targeted for pandemic unemployment relief. As previously stated, the UIA

   receives over $10,000 in federal funding each year and HAWKINS processed

   over $5,000 in fraudulent claims. HAWKINS therefore violated 18 U.S.C.

   section 666 (Theft or Bribery Concerning Programs Receiving Federal Funds).

30. Most of these funds were processed through Bank of America (BOA),

   specifically through BOA data center locations in the states of Virginia and

   Texas. Therefore, the disbursement of these fraudulently obtained UI funds

   involved the use of interstate wires, which constitutes a violation of 18 U.S.C.

   section 1343 (Wire Fraud).

31. On July 7, 2020, federal agents executed a search warrant at HAWKINS’s

   residence. Agents seized evidence including, but not limited to, several

   electronic devices to include cell phones, tablets, and the Microsoft surface

   tablet provided to her by her employer. Agents also seized numerous high-end

   handbags and other luxury goods.

32. HAWKINS was interviewed by federal agents at the time of the search

   warrant. HAWKINS admitted that she knowingly accessed the UIA system and

   approved claims without authorization.


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33. From inside HAWKINS’s residence, agents located and seized approximately

  $238,000 in cash and a print out of several receipts totaling thousands of dollars

  for electronics, jewelry, clothing, and the like. Some of these receipts

  corresponded to goods seized from HAWKINS’s residence. A portion of the

  cash was found in a high-end backpack seized from the residence. Inside the

  backpack was also correspondence from BOA regarding a debit card, along

  with a PIN to be used for ATM withdrawals. Several debit cards were also

  located in HAWKINS’s wallet.

34. Analysis of SOM’s records show that bank accounts and debit cards processed

  through banks other than BOA also received proceeds of HAWKINS’s fraud.

35. Bank records have been obtained to trace the proceeds of HAWKINS’s

  fraudulent scheme. Analysis of these records has shown that, in some cases,

  shortly after fraudulent UI claim proceeds were deposited into a bank account

  by the SOM, funds were further transferred to separate bank accounts in the

  names of other individuals.

36. Records also show that fraudulent funds have been withdrawn via ATMs.




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